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                                                                       FILED
                                                           United States Court of Appeals
                            UNITED STATES COURT OF APPEALS         Tenth Circuit

                                  FOR THE TENTH CIRCUIT                         March 20, 2020
                              _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
       MICHAEL VALDEZ,

             Plaintiff - Appellee/Cross –
             Appellant,
                                                            Nos. 19-1182 and 19-1194
       v.                                             (D.C. No. 1:15-CV-00109-WJM-STV)
                                                                    (D. Colo.)
       ROBERT MOTYKA, JR., Denver Police
       Officer, in his individual capacity; CITY
       OF DENVER, a municipality,

             Defendants - Appellants/Cross-
             Appellees,

       and

       JOHN MACDONALD, Denver Police
       Officer, in his individual capacity,

             Defendant - Cross-Appellee.
                             _________________________________

                                  ORDER AND JUDGMENT*
                              _________________________________

   Before BRISCOE, KELLY, and CARSON, Circuit Judges.**
                     _________________________________



   *
     This order and judgment is not binding precedent, except under the doctrines of law of
   the case, res judicata, and collateral estoppel. It may be cited, however, for its persuasive
   value consistent with Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.
   **
      After examining the briefs and appellate record, this panel has determined unanimously
   to honor the parties’ request for a decision on the briefs without oral argument. See
   Fed. R. App. P. 34(f); 10th Cir. R. 34.1(G). The case is therefore submitted without oral
   argument.
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          These interlocutory appeals raise questions of qualified immunity and pendent

   appellate jurisdiction. In the pending civil rights action, Plaintiff-Appellee and Cross-

   Appellant Michael Valdez seeks recovery from Defendant-Appellants and Cross-

   Appellees Sergeant Robert Motyka, Lieutenant John Macdonald, and the City and

   County of Denver (Denver) under 42 U.S.C. § 1983. Mr. Valdez alleges that the

   individual defendants violated his Fourth Amendment rights when they shot him in the

   back and finger following a violent vehicle chase. On summary judgment, the district

   court granted qualified immunity to Lieutenant Macdonald, denied it to Sergeant Motyka,

   and determined that there was a genuine issue of material fact as to municipal liability on

   the theory that Denver ratified the actions of its officers. Valdez v. Macdonald,

   No. 15-cv-00109-RPM, 2019 WL 1651857 (D. Colo. Apr. 17, 2019). The case was

   ultimately reassigned to another district judge who certified these appeals as frivolous

   because it turned on evidentiary sufficiency no matter how else phrased. Valdez v.

   Motyka, 416 F. Supp. 3d 1250 (D. Colo. 2019).

          In No. 19-1182, Sergeant Motyka challenges the district court’s denial of

   qualified immunity claiming that it turns on questions of law. Should that challenge be

   successful, with the court finding as a matter of law that there was no constitutional

   violation on the part of Sergeant Motyka, Denver contends that we should exercise

   pendent appellate jurisdiction and reverse the district court’s decision on allowing the

   municipal liability claim to advance. Aplt. Jt. Prin. Br. at 48–49. Mr. Valdez cross-

   appeals in No. 19-1194, arguing that if we accept jurisdiction over Sergeant Motyka’s

   qualified immunity appeal, we should exercise pendent appellate jurisdiction over the

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   grant of qualified immunity to Lieutenant Macdonald because his conduct is virtually

   identical and he failed to intervene. Aplee./Cross-Aplt. Br. at 29. Because the denial of

   qualified immunity is based on evidentiary sufficiency, we lack jurisdiction and dismiss

   these appeals.

                                         Background

          This case arises following a violent vehicle chase that occurred in the Denver

   metropolitan area on January 16, 2013. Earlier that morning, Johnny Montoya was

   involved in a domestic dispute involving a firearm. He fled the scene and an alert was

   put out for the red Dodge truck he was seen driving. At some point later that day, he

   picked up his brothers –– Jude and Chuck Montoya –– and a woman named Alyssa

   Moralez. They also picked up Mr. Valdez, an intellectually disabled, periodically

   homeless man, who asked for a ride. Shortly thereafter, Denver police officers spotted

   the truck and a chase ensued. At the time the chase began, Mr. Valdez was sitting in the

   truck bed but quickly climbed into the cab through the rear window.

          At some point during the chase, someone in the cab of the truck began shooting at

   police vehicles in pursuit. A bullet struck Sergeant Motyka in the shoulder. He briefly

   pulled over to inspect the wound before re-joining the chase. Not long after, the truck

   crashed into a tree. Officer Jeremy Olive was the first to arrive on the crash scene. He

   observed Jude Montoya flee on foot but did not shoot at him. Moments thereafter,

   Sergeant Motyka arrived and began firing. He testified to shooting two rounds of six or

   seven shots. Lieutenant Macdonald was right behind Sergeant Motyka, and he also

   began shooting. During this altercation, Mr. Valdez was struck in the back and finger,

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   temporarily paralyzing him and causing permanent damage to his finger. The bullet in

   his back was later found to have come from Sergeant Motyka’s gun but it was not

   determined which officer hit Mr. Valdez’s finger.

          After Mr. Valdez was struck, Sergeant Motyka withdrew from the scene. He

   testified that his vision had begun blurring because of the pain in his shoulder and he

   believed he was becoming a liability. The altercation continued for several more minutes

   with officers eventually shooting and killing Johnny Montoya after he was seen grabbing

   a handgun from the truck cab.

          Mr. Valdez initiated the underlying action in 2015. In pertinent part, he claims

   excessive force and, as to municipal liability, that Denver ratified the actions of its

   officers by honoring them and claiming that they did not violate policy or procedures. A

   separate interlocutory appeal was filed previously resulting in the dismissal of several

   claims. Valdez v. Derrick, 681 Fed. App’x 700 (10th Cir. 2017). Thereafter, Mr. Valdez

   moved to voluntarily dismiss certain claims against some of the officers.

          The district court denied qualified immunity to Sergeant Motyka based upon

   evidentiary sufficiency. It determined that, at a minimum, there were factual disputes

   that could demonstrate that Mr. Valdez was seized when shot and immobilized and that

   Sergeant Motyka’s actions were objectively unreasonable. The district court authored the

   following narrative, which it determined could be the version of events that a reasonable

   juror might find after drawing all inferences in favor of Mr. Valdez:

                 Motyka started shooting immediately on arrival at his position. He
                 fired a burst of six or seven rounds. After a brief pause he fired
                 another burst. Lt. Macdonald arrived in moments and started firing
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                in the same direction as Motyka. He shot six times. In his interview
                with DPD Motyka said that “probable cause is in my shoulder”
                suggesting he was acting out of revenge and anger at having been
                shot.

                Chuck Montoya stayed in the truck bed. During the police pursuit
                and hearing gunshots, Valdez had crawled up into the cab through
                the rear window and crouched down above Moralez who was curled
                up on the floor.

                Valdez and Moralez testified that they went out the passenger door
                immediately after Jude and went down to the ground in a prone
                position between the truck and a tree, facing into the park.

                During the bursts of gunfire by Motyka and Macdonald Valdez was
                hit in a finger and in his back. The bullet that hit him in the back,
                causing serious injury, came from Motyka’s gun. It was not possible
                to determine whether the bullet that hit his finger came from the
                shooting by Motyka or Macdonald. During the DPD investigation
                multiple bullets were found in the lower part of the tree and one on
                the grass near where Valdez had lain.

                It is apparent that the area was sprayed with bullets permitting the
                inference that the officers were firing without aiming at a clear
                target.

                Motyka was in extreme pain from the wound in his shoulder. In an
                interview with a DPD investigator on January 18, 2013, he said that
                the pain was causing him to nearly faint, saying that he saw a black
                cloud closing his peripheral vision and after shooting he backed off
                to avoid becoming a liability to the other officers. Macdonald
                helped him to a car. Motyka was very angry as well and very eager
                to get the occupant who shot him. In the same interview he said that
                he kept thinking about aiming with the front sight as he had been
                trained. These statements and the scattered bullets warrant an
                inference that Motyka started shooting without making any effort to
                determine whether there was any immediate threat to him or others
                as the occupants of the cab came out. Johnny Montoya was the last
                occupant to come out the passenger door. He was shot dead by other


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                 officers after failing to obey their commands several minutes after
                 Motyka withdrew from the immediate scene.

                 The shootings by Motyka and Macdonald are actions in sharp
                 contrast to the conduct of Olive who was there first and who did not
                 assess an immediate threat requiring shooting for the safety of the
                 officers or anyone else.

                 Both Motyka and Macdonald have said that they were firing at a
                 man who had a gun and went to his knee to get into a firing position.
                 Olive did not support that view. Presumably Johnny had a gun when
                 he was shot.

                 Three guns were found. DNA testing excluded Valdez as a source
                 of what was found on them. Johnny Montoya had come out the
                 passenger door and was standing when Valdez and Moralez were on
                 the ground. He must not have been seen as an immediate threat by
                 Olive or other officers until he was shot three minutes after Motyka
                 and Macdonald were done shooting. They were about three car
                 lengths away from the occupants when firing.

   Valdez, 2019 WL 1651857, at *1–2. The district court granted qualified immunity to

   Lieutenant Macdonald after finding no clearly established law that rendered his conduct

   violative of the Fourth Amendment. Id. at *4. However, the court denied qualified

   immunity for Sergeant Motyka, finding that the question of whether Mr. Valdez

   presented an imminent threat –– sufficient to justify Sergeant Motyka’s decision to fire at

   him –– was disputed in the record and best left to a jury. Id. at *3. The district court also

   denied Denver’s motion for summary judgment on grounds that the City’s public reasons

   for ratifying the conduct of Sergeant Motyka conflated “the conduct of John Montoya

   and Michael Valdez as threats requiring lethal force” which it believed was “contrary to

   what a jury may find.” Id. at *4.


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   A. Qualified Immunity as to Sergeant Motyka

          The denial of qualified immunity is a question of law we review de novo. Cortez

   v. McCauley, 478 F.3d 1108, 1115 (10th Cir. 2017). Plaintiffs seeking to overcome a

   qualified immunity defense must show that (1) the defendant violated a constitutional or

   statutory right, and (2) the right was clearly established at the time of the defendant’s

   unlawful conduct. Mecham v. Frazier, 500 F.3d 1200, 1204 (10th Cir. 2007).

          However, “a defendant, entitled to invoke a qualified immunity defense, may not

   appeal a district court’s summary judgment order insofar as that order determines

   whether or not the pretrial record sets forth a ‘genuine’ issue of fact for trial.” Johnson v.

   Jones, 515 U.S. 304, 319–20 (1995). As such, “[t]his court [] lacks jurisdiction at this

   stage to review a district court’s factual conclusions, such as the existence of a genuine

   issue of material fact for a jury to decide, or that a plaintiff’s evidence is sufficient to

   support a particular factual inference.” Fancher v. Barrientos, 723 F.3d 1191, 1199 (10th

   Cir. 2013) (internal citations omitted). “[I]n reviewing the district court’s rejection of

   [the defendant]’s qualified immunity defense, we must scrupulously avoid second-

   guessing the district court’s determinations regarding whether [the plaintiff] has

   presented evidence sufficient to survive summary judgment.” Id. (internal citations

   omitted) (emphasis in original).

          Appellants argue that the district court committed legal error in finding that a

   reasonable jury could find for Mr. Valdez on his Fourth Amendment excessive force

   claim. However, the district court reached this conclusion only after discussing the sheer

   number of factual disputes presented by the record, and we have “no interlocutory

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   jurisdiction to review ‘whether or not the pretrial record sets forth a ‘genuine’ issue of

   fact for trial.’” Estate of Booker v. Gomez, 745 F.3d 405, 409 (10th Cir. 2014) (quoting

   Johnson, 515 U.S. at 320); see also id. at 409–10 (“Thus, ‘if a district court concludes

   that a reasonable jury could find certain specified facts in favor of the plaintiff, the

   Supreme Court has indicated we usually must take them as true1—and do so even if our

   own de novo review of the record might suggest otherwise as a matter of law.’” (quoting

   Roosevelt–Hennix v. Prickett, 717 F.3d 751, 753 (10th Cir. 2013))). Here, the district

   court clearly articulated which factual disputes precluded granting qualified immunity to

   Sergeant Motyka and provided a detailed analysis of how those facts could lead to a

   jury’s reasonable conclusion that Sergeant Motyka violated Mr. Valdez’s Fourth

   Amendment rights. Though the Appellants argue legal errors pervade the district court’s

   view of the facts concerning seizure and objective reasonableness, in the end they are

   challenging the district court’s view of the facts. As a result, dismissal of these appeals is

   warranted. See Ralston v. Cannon, 884 F.3d 1060, 1067–68 (10th Cir. 2018).

   B. Pendent Jurisdiction

          As noted, Denver’s request that we exercise pendent appellate jurisdiction was

   conditional on an appellate finding that no individual constitutional violation occurred as

   a matter of law. Because we do not reach the legal merits of Sergeant Motyka’s qualified




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    “A key exception to Johnson’s jurisdictional rule arises if a district court fails to specify
   which factual disputes precluded a grant of summary judgment for qualified immunity.”
   Estate of Booker, 745 F.3d at 410. This exception is not applicable here as the district
   court clearly explained the relevant factual disputes.
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   immunity appeal and dismiss it, there is no predicate for pendent appellate jurisdiction on

   this basis.

          Likewise, Mr. Valdez’s request that we exercise pendent appellate jurisdiction

   over the grant of qualified immunity to Lieutenant Macdonald was conditional on

   affirming the denial of qualified immunity to Sergeant Motyka. Having not reached the

   merits of Sergeant Motyka’s qualified immunity appeal, it is axiomatic that the grant of

   qualified immunity to Lieutenant Macdonald is neither inextricably intertwined or in aid

   of our decision in this case. See Tarrant Reg’l Water Dist. v. Sevenoaks, 545 F.3d 906,

   915 (10th Cir. 2008).

          APPEALS DISMISSED. All pending motions are denied.


                                                Entered for the Court


                                                Paul J. Kelly, Jr.
                                                Circuit Judge




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                             UNITED STATES COURT OF APPEALS
                                 FOR THE TENTH CIRCUIT
                                  OFFICE OF THE CLERK
                                  Byron White United States Courthouse
                                           1823 Stout Street
                                        Denver, Colorado 80257
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    Christopher M. Wolpert                                                           Jane K. Castro
    Clerk of Court                        March 20, 2020                         Chief Deputy Clerk




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    RE:       19-1182, 19-1194, Valdez v. Motyka, et al
              Dist/Ag docket: 1:15-CV-00109-WJM-STV

    Dear Counsel:

    Enclosed is a copy of the order and judgment issued today in this matter. The court has
    entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

    Pursuant to Fed. R. App. P. Rule 40(a)(1), any petition for rehearing must be filed within
    14 days after entry of judgment. Please note, however, that if the appeal is a civil case in
    which the United States or its officer or agency is a party, any petition for rehearing must
    be filed within 45 days after entry of judgment. Parties should consult both the Federal
    Rules and local rules of this court with regard to applicable standards and requirements.
    In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
    and no answer is permitted unless the court enters an order requiring a response. If
    requesting rehearing en banc, the requesting party must file 6 paper copies with the clerk,
    in addition to satisfying all Electronic Case Filing requirements. See Fed. R. App. P.
    Rules 35 and 40, and 10th Cir. R.35 and 40 for further information governing petitions
    for rehearing.
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    Please contact this office if you have questions.

                                                Sincerely,



                                                Christopher M. Wolpert
                                                Clerk of the Court




    CMW/sds




                                                 2
